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11                             UNITED STATES DISTRICT COURT
12                           CENTRAL DISTRICT OF CALIFORNIA
13   LOUIS BUTEL and PAM MOCHERNIAK,                Case No. 2:23-cv-04547-DSF-JPR
     individually and on behalf of all similarly
14   situated current and former employees,         Hon. Dale S. Fischer
15                       Plaintiffs,                CLASS ACTION
16         v.                                       SECOND AMENDED CLASS ACTION
                                                    COMPLAINT FOR DAMAGES AND
17   MARATHON REFINING AND                          INJUNCTIVE RELIEF
     LOGISTICS SERVICES LLC, and DOES 1             1. Failure to Pay Reporting Time Pay
18   through 10, inclusive,                            (Lab. Code § 218; IWC Wage Order 1-
19                              Defendants.            2001; 8 C.C.R. § 11010;);
                                                    2. Failure to Pay for Travel Time (Lab.
20                                                     Code § 218, 218.5, 1194; and 1199;
                                                       Wage Order 1-2001; 8 C.C.R. § 11010)
21                                                  3. Failure to Pay All Wages Earned at
                                                       Termination (Labor Code §§ 200-203);
22                                                  4. Failure to Furnish Accurate Itemized
                                                       Wage Statements (Lab. Code. §§ 226
23                                                     and 226.3);
                                                    5. Liability for Civil Penalties Under the
24                                                     Private Attorneys General Act (Lab.
                                                       Code § 2698 et seq.)
25                                                  DEMAND FOR JURY TRIAL
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 1                                      INTRODUCTION
 2         1.    Louis Butel and Pam Mocherniak (“Named Plaintiffs”) bring this action
 3   against Defendant Marathon Refining and Logistics Services LLC and other as of yet
 4   unnamed Defendants (collectively, “Marathon” or “Defendants”), alleging violations of
 5   the California Labor Code. Named Plaintiffs bring this action individually and as a
 6   proposed class action on behalf of similarly situated current and former employees who
 7   have been employed by Defendants at Marathon’s oil refinery, sulfur plant, terminal
 8   facilities, lubricants plant, and distribution facilities located in or around Carson and
 9   Wilmington, California (“Los Angeles Refinery”).
10         2.    Named Plaintiffs seek class-wide relief under California law for Marathon’s
11   breach of its legal obligations to pay reporting time pay, travel time pay, pay all wages
12   earned at termination, and to furnish timely and accurate wage statements, pursuant to
13   California Labor Code §§ 200-203, 218, 226, 226.3, and California Industrial Welfare
14   Commission Wage Order No. 1-2001 (“Wage Order 1-2001”), to its employees at the Los
15   Angeles Refinery.
16         3.    Named Plaintiffs, suing on behalf of themselves and other aggrieved
17   employees, also seek relief under California’s Private Attorneys General Act of 2004,
18   California Labor Code § 2698 et seq. (“PAGA”).
19                                       THE PARTIES
20         4.    Named Plaintiff Louis Butel is, and at all relevant times was, a competent
21   adult residing in Placentia, California. Butel is and has been employed by Marathon within
22   the State of California and is an “employee” as defined in Wage Order 1-2001. Named
23   Plaintiff currently is employed at Defendant’s Los Angeles Refinery.
24         5.    Named Plaintiff Pam Mocherniak is, and at all relevant times was, a
25   competent adult residing in Carson, California. Mocherniak was employed by Marathon
26   within the State of California and was an “employee” as defined in Wage Order 1-2001.
27   She retired in January 2023 and is no longer employed by Marathon.
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 1         6.     Named Plaintiffs bring this action individually and on behalf of the following
 2   two classes of individuals (the “putative class members”) (collectively, “Plaintiffs”):
 3         Standby Class
           All current and former operators of Marathon (or any of its affiliates or
 4         successors) who worked at the Los Angeles Refinery, and who have been
           assigned standby shifts that required them to be ready to answer a telephone
 5         and report to the refinery if called, since November 25, 2019.
 6         Travel Time Class
           All current and former employees of Marathon (or any of its affiliates or
 7         successors) who worked at the Los Angeles Refinery, and who were not paid
           for time between the time they entered the facility and the time they clocked
 8         in for work, and were not paid for time between the time they clocked out and
           the time they exited the facility, since November 25, 2019.
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10         7.     All putative class members known to Plaintiffs are citizens of California.
11         8.     Defendant Marathon Refining and Logistics Services LLC is headquartered
12   in Findlay, Ohio, incorporated in Delaware, and does business in California. It is a
13   “person” as defined by California Labor Code § 18. Defendant Marathon is an “employer”
14   as that term is used in the California Labor Code and Wage Order 1-2001.
15         9.     Defendant Marathon Refining and Logistics Services LLC has owned and/or
16   operated the Los Angeles Refinery, which includes an oil refinery, sulfur plant, terminal
17   facilities, lubricants plant, and distribution facilities, located in or around Carson and
18   Wilmington, California. Plaintiffs are ignorant of the true names and capacities of
19   Defendants sued herein as Does 1 through 10, inclusive, and therefore sue these Defendants
20   by such fictitious names. Plaintiffs will amend this Complaint to allege Doe Defendants’
21   true names and capacities when ascertained.
22         10.    Plaintiffs are informed and believe and thereupon allege that, at all relevant
23   times, Defendants and each of them, directly or indirectly, or through an agent or any other
24   person, employed and/or exercised control over the wages, hours, and/or working
25   conditions of Plaintiffs, and that Defendants and each of them were the joint employers of
26   Plaintiffs and/or alter egos of each other.
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 1                                  JURISDICTION AND VENUE
 2         11.       Venue is proper based on the location of work performed by Plaintiffs in Los
 3   Angeles County, the location of the Los Angeles Refinery, the performance of various
 4   contracts pertaining to working conditions at the Los Angeles Refinery by Defendants in
 5   Los Angeles County, as well as the location of the commission of the acts alleged herein
 6   in Los Angeles County. The relief requested is within the jurisdiction of this Court.
 7                                   FACTUAL ALLEGATIONS
 8         12.       Marathon has employed Plaintiffs and putative class members at its Los
 9   Angeles Refinery, consisting of an oil refinery, sulfur plant, terminal facilities, lubricants
10   plant, and distribution facilities located in or around Carson and Wilmington, California
11   (the “Los Angeles Refinery”).
12         13.       This class action challenges the practice of scheduling refinery operators for
13   “standby” shifts but failing to pay required reporting time pay, the practice of requiring
14   refinery employees to walk or find a ride from Marathon’s on-site vehicles between the
15   employee turnstiles, where Marathon requires employees to badge in and badge out upon
16   entry and exit, and their designated work units within the refinery, but failing to pay for the
17   travel time between said turnstiles and work units, and the requirement for employees to
18   wait until shortly before their shifts begin, to clock-in at the work unit but failing to pay
19   for the time.
20         14.       Standby shifts: Plaintiffs and the other operators are scheduled for and work
21   12-hour shifts, during which Marathon uniformly requires them to remain on duty the
22   entire shift. In addition to their regular 12-hour shifts, operators at Marathon’s Los Angeles
23   Refinery must regularly be available for designated 12-hour standby shifts twice a day.
24         15.       Marathon requires operators at its Los Angeles Refinery to be at the ready to
25   receive calls during two 2-hour time periods when assigned to cover standby shifts, which
26   commence 1.5 hours prior to the start of the scheduled standby shift and end 30 minutes
27   after the standby shift has started. If an operator cannot be reached during these 2-hour
28   time periods, the operator is considered absent without leave and is subject to disciplinary

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 1   action. If an operator is asked to work the scheduled standby shift during one of the 2-hour
 2   time periods, the operator must report for duty at the refinery in Los Angeles within a time
 3   period not to exceed 3.5 hours. If an operator is not contacted at all during these 2-hour
 4   time periods, the operator is not compensated at all by Marathon, although the operator’s
 5   activities have been significantly constrained.
 6         16.    These standby shifts impose tremendous costs on these employees. Without
 7   the security of a definite work schedule and because Marathon requires employees to be
 8   available for standby shifts, workers who must be “on-call” or on “standby” are forced to
 9   make childcare arrangements, kin-care arrangements, encounter obstacles in pursuing their
10   education, experience adverse financial effects, and deal with stress and strain on their
11   family life. The “on-call” or “standby” shifts also interfere with employees’ ability to
12   obtain supplemental employment in order to ensure financial security for their families.
13   They also cannot commit to social plans with friends or family.
14         17.    In addition to their scheduled standby shifts, operators at the Los Angeles
15   Refinery must wait to be called one hour prior to the start of each of the two scheduled
16   standby shifts. Consequently, they are inconvenienced not only for the periods of the
17   scheduled standby shifts they must cover, but also for the hour before the standby shifts
18   commence. During this period prior to the start of the standby shift, operators must be at
19   the ready to answer calls, and they cannot do things incompatible with answering a phone
20   call, such as sleeping, taking a class, going camping, or being at any location without cell
21   service including, for example, elevators and numerous rural areas.
22         18.    Whether or not Marathon ultimately calls an operator on standby shifts and
23   requires the employee to work a standby shift, the operator has still suffered inconvenience
24   and has forgone the opportunity to take-on other work that could have been scheduled for
25   the day or evening, take a class, go camping in an area with limited cell reception, and
26   make out-of-town plans, amongst other restrictions.
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 1         19.    In short, the requirement of having to be at the ready for standby shifts and
 2   arrive at work if called significantly limits operators’ ability to earn other income, take
 3   classes, care for dependent family members, and enjoy time for recreation.
 4         20.    Pursuant to its authority under Labor Code § 1773, the Industrial Welfare
 5   Commission promulgated Wage Order 1-2001. Wage Order 1-2001 applies to Marathon’s
 6   Los Angeles Refinery.
 7         21.    Pursuant to Wage Order 1-2001, an employee is entitled to reporting time pay
 8   when he or she “is required to report for work and does report, but is not put to work or is
 9   furnished less than half said employee’s usual or scheduled day’s work.” The amount of
10   reporting time pay that must be paid “is half the usual or scheduled day’s work, but in no
11   event for less than two (2) hours nor more than four (4) hours, at the employee’s regular
12   rate of pay, which shall not be less than the minimum wage.”
13         22.    Notwithstanding Marathon’s standby shift policy, Marathon compensates
14   operators only when they are actually required to work during the standby shift. Marathon
15   does not credit its operators at its Los Angeles Refinery for “reporting for work” when the
16   employee is scheduled for a standby shift and is not told that he or she has to work during
17   the standby shift. These practices have resulted, and continue to result, in Marathon not
18   paying its employees required reporting time pay.
19         23.    Travel time: The refinery has several employee entrances. At each employee
20   entrance, there is a turnstile. At the start of each workday, Marathon requires that
21   employees badge-in and walk through the employee turnstiles to enter the refinery.
22   Employees who drive to work must leave their personal vehicles outside of the refinery.
23   Once inside the refinery, Marathon requires employees, including operators and
24   maintenance workers, at the Los Angeles Refinery to wear personal protective equipment
25   (“PPE”), such as hard hats, safety glasses, Flame Retardant Clothing (“FRC”), special
26   footwear, goggles, gloves, hearing protection, and other specialized items such as hydrogen
27   sulfide (H2S) monitors (which are used to monitor exposure to poisonous gas) everywhere
28   inside the refinery, with the exception of very limited areas of the refinery specifically

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 1   designated as exempt. Once wearing the appropriate PPE, Marathon further requires that
 2   employees travel, while wearing required PPE, to their designated work units, where they
 3   clock-in.
 4         24.    Marathon’s work rules prohibit employees from using their own
 5   transportation to get to and from their work units, so they must either walk, bike, or find a
 6   ride on Marathon’s on-site vehicles. Marathon requires that employees wear PPE when
 7   walking, biking, or riding in a Marathon’s onsite vehicles inside the refinery. Employees
 8   are subject to discipline for failing to wear required PPE while traveling on foot, by bicycle,
 9   or in Marathon’s on-site vehicles inside the refinery.
10         25.    For operators, Marathon does not allow employees to clock-in until several
11   minutes before both the day and night shift, which occurs from 5:00 am/pm to 5:00 pm/am
12   (at the Carson side of the Los Angeles Refinery) or 6:00 am/pm to 6:00 am/pm (at the
13   Wilmington side of the Los Angeles Refinery). Maintenance workers work a day shift but
14   may not clock in until shortly before the shift begins. Employees are not paid for the time
15   spent traveling between the employee turnstiles and their work units, nor are they paid for
16   waiting until shortly before the shift start time to clock-in, nor are they paid for the time
17   spent traveling from back from their work units to the turnstiles after clocking-out.
18         26.    Marathon maintains records of the times at which employees badge-in and
19   badge-out at the turnstiles each day. Marathon mandates that employees use the turnstiles
20   when entering or exiting the refinery, and requires employees to badge-in and badge-out
21   using company-issued badges. Marathon utilizes these employee badge-in and badge-out
22   records to monitor employee attendance at the refinery. Employees are subject to discipline
23   based on the times that they badge-in and badge-out each day.
24         27.    Employees are prohibited from smoking, carrying or using alcohol,
25   and carrying weapons while traveling inside the Refinery.
26         28.    Unlike during their commute times on public streets between their homes and
27   the refinery, employees cannot use the time traveling after entering at the turnstiles to run
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 1   errands, stop for breakfast, or carry out other tasks that require the use of their personal
 2   vehicles.
 3         29.    When Marathon’s employees walk, bike, or ride in a company vehicle to and
 4   from their work units on refinery property, all while subject to Marathon’s workplace rules
 5   and policies including the requirement that they wear PPE, they are subject to Marathon’s
 6   “control.” Morillion v. Royal Packing Co. (2000) 22 Cal.4th 575, 586.
 7         30.    Therefore, Marathon’s employees are entitled to compensation (including
 8   overtime wages and penalties) for the “hours worked” spent traveling to and from their
 9   work units and waiting to clock-in.
10         31.    Marathon has not paid, and continues to not pay, its employees for their “hours
11   worked.”
12         32.    Failure to furnish accurate wage statements: Marathon also routinely fails
13   to maintain complete and accurate payroll records for Plaintiffs showing, inter alia, the
14   gross and net wages earned, including wages for “reporting for work” and wages for the
15   travel time to and from their work units.
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 1                                     CLASS ALLEGATIONS
 2            33.   Plaintiffs bring this action on behalf of themselves and the following
 3   ascertainable classes of similarly situated persons: (1) Standby Class. All current and
 4   former operators of Marathon (or any of its affiliates or successors) who worked at the Los
 5   Angeles Refinery, and who have been assigned standby shifts that required them to be
 6   ready to answer a telephone and report to the refinery if called, since November 25, 2019;
 7   and (2) Travel Time Class. All current and former employees of Marathon (or any of its
 8   affiliates or successors) who worked at the Los Angeles Refinery, and who were not paid
 9   for time between the time they entered the facility and the time they clocked in for work,
10   and were not paid for time between the time they clocked out and the time they exited the
11   facility, since November 25, 2019.
12            34.   Plaintiffs reserve the right to modify the description of the classes and to later
13   designate subclasses based on the results of discovery or otherwise.
14            35.   Numerosity: The proposed classes are estimated to include between 400 and
15   1,000 members. These proposed classes are so numerous that joinder of all such persons is
16   impracticable and the disposition of their claims as a class will benefit the parties and the
17   Court.
18            36.   Ascertainability: The identities of the members of the classes are readily
19   ascertainable by review of Marathon’s records, including, but not limited to, payroll
20   records, timekeeping records, schedules, and other documents and other business records
21   that Marathon is required by law to maintain.
22            37.   Commonality/Predominance: There are predominant common questions of
23   law and fact and a coherent community of interest amongst Plaintiffs and the claims of the
24   classes, concerning Marathon’s treatment of them, including but not limited to:
25                  a.    Whether the reporting time pay requirement that an employee “report
26                        for work” requires that Plaintiffs and the class physically report for
27                        work;
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 1                b.     Whether Marathon’s requirements that its operators (1) be at the ready
 2                       to receive a call during a designated standby period; and (2) arrive at
 3                       work if asked to work a standby shift or face discipline triggers
 4                       California’s reporting time pay obligations;
 5                c.     Whether Marathon’s requirements that its operators (1) be at the ready
 6                       to receive a call during a designated standby period; (2) arrive at work
 7                       if asked to work the standby shift; and (3) be subject to discipline if
 8                       they fail to satisfy either requirement violates California policy as
 9                       expressed by the state legislature’s enactment of Labor Code § 96(k)
10                       prohibiting discipline for employees engaging in lawful off duty
11                       conduct;
12                d.     Whether the time employees spend traveling between the employee
13                       turnstile and their work unit constitutes “hours worked” for which they
14                       are entitled to compensation;
15                e.     Whether Marathon violated and continues to violate Wage Order 1-
16                       2001;
17                f.     Whether Marathon violated Labor Code §§ 200-203; and
18                g.     Whether Marathon violated Labor Code §§ 226, 226.3
19         38.    Typicality: The claims alleged by Named Plaintiffs herein encompass the
20   challenged practices and common courses of conduct of Defendants and are typical of those
21   claims which could be alleged by any member of the proposed classes. Named Plaintiffs’
22   claims arise out of the alleged courses of conduct by Defendants and are based on the same
23   legal theories as the claims of the putative class members. The legal issues as to which
24   California laws are violated by such conduct apply equally to Named Plaintiffs and the
25   putative class members. Further, the relief sought by Named Plaintiffs is typical of the
26   relief which would be sought by each member of the proposed class if they were to file
27   separate actions.
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 1         39.    Adequacy of Representation: Named Plaintiffs are proper representatives of
 2   the proposed class because they will fairly and adequately represent and protect the
 3   interests of all putative class members and because there are no known conflicts of interest
 4   between Named Plaintiffs and any putative class members. Other current and former
 5   employees of Defendants are available to serve as class representatives if the Named
 6   Plaintiffs is found to be inadequate.
 7         40.    Named Plaintiffs has retained attorneys who are competent and experienced
 8   in class action litigation and they intend to prosecute this action vigorously. Therefore, the
 9   interests of putative class members will be fairly and adequately protected by Plaintiffs and
10   their counsel.
11         41.    Superiority: A class action is superior to other available means for the fair
12   and efficient adjudication of this controversy, since the individual joinder of all members
13   of the two proposed classes is impracticable. A class action will permit a large number of
14   similarly situated persons to prosecute their common claims in a single forum
15   simultaneously, efficiently and without the unnecessary duplication of effort and expense
16   that numerous individual actions would engender. Furthermore, as the damage suffered by
17   each individual of each class may be small, on a relative basis, the expenses and burden of
18   individual litigation would make it difficult or impossible for individual members of the
19   class to redress the wrongs done to them. Moreover, an important public benefit will be
20   realized by addressing the matter as a class action. The cost to the court system of
21   adjudication of such individual litigation would be substantial. Individual litigation would
22   also present the potential for inconsistent or contradictory judgments. Adjudication of
23   individual class members’ claims with respect to Marathon would, as a practical matter, be
24   dispositive of the interest of other members or substantially impair or impede the ability of
25   other individual members of the proposed classes to protect their interests.
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 1                         ALLEGATIONS OF NAMED PLAINTIFFS
 2         42.    During the class period, Plaintiff Butel has worked and continues to work as
 3   an operator at Marathon’s Los Angeles Refinery. Plaintiff Mocherniak also worked as an
 4   operator at Marathon’s Los Angeles Refinery. During the course of their employment,
 5   Plaintiffs were required to cover (i.e., be ready to work) standby shifts.
 6         43.    When assigned to cover a standby shift, Plaintiffs and other operators had to
 7   be at the ready to receive a call for the period one hour prior to the start of a standby shift
 8   until thirty minutes after the standby shift commenced. If Plaintiffs and other operators
 9   received a call, they had about 3.5 hours to arrive at the refinery.
10         44.    Marathon considered Plaintiffs and the other operators at its Los Angeles
11   Refinery as absent without leave and subjected them to discipline if they failed to answer
12   a call during the designated time period. During their employment with Marathon,
13   Plaintiffs have been frequently scheduled to cover standby shifts, which always involved
14   set scheduled start times and end times.
15         45.    Unless Plaintiffs and other operators were asked to work a standby shift,
16   Marathon did not provide them with any compensation, including reporting time pay.
17         46.    Plaintiffs and other employees have also been required to travel to their work
18   units and wait until five minutes before their shift start time to clock-in. Plaintiffs and other
19   employees are prohibited from using their own vehicles to travel to and from their work
20   units. Instead, Plaintiffs and other employees must leave their personal vehicles parked
21   outside of the Refinery, walk through an employee turnstile with their badge, and travel,
22   either by walking, bicycling, or finding a ride on an on-site company vehicle, to the work
23   unit. When at the work unit, they must wait until five minutes before their shift to clock-
24   in. At the end of their shift, Plaintiffs and other employees are required to clock-out at their
25   work unit and travel back to an employee turnstile before they can exit the refinery.
26         47.    Marathon did not, and does not, compensate Plaintiffs and other employees
27   for travel time to and from their work units.
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 1                                    FIRST CAUSE OF ACTION
 2                          FAILURE TO PAY REPORTING TIME PAY
 3                                (Wage Order 1-2001; 8 C.C.R. § 11010)
 4    (By Named Plaintiffs and the Putative Standby Class Members Against All Defendants)
 5          48.    Named Plaintiffs reallege and incorporate by reference all prior paragraphs as
 6   if fully set forth herein.
 7          49.    Wage Order 1-2001 provides that “[e]ach workday an employee is required
 8   to report for work and does report, but is not put to, work or is furnished less than half said
 9   employee’s usual or scheduled day’s work, the employee shall be paid for half the usual or
10   scheduled day’s work, but in no event for less than two (2) hours nor more than four (4)
11   hours, at the employee’s regular rate of pay, which shall not be less than the minimum
12   wage.”
13          50.    As set forth herein, Marathon scheduled Plaintiffs and the Standby Time Class
14   for standby shifts that required them to be at the ready to receive a call and face discipline
15   if they did not answer such call. Marathon also required Plaintiffs and the Standby Time
16   Class to arrive at work within a designated time period if asked to work the scheduled
17   standby shift. Failure to answer a call or arrive at work within the time frame subjected
18   Plaintiffs and the Standby Time Class to discipline.
19          51.    Marathon has failed to pay required reporting time pay to Plaintiffs and the
20   Standby Time Class, as Plaintiffs and the Class were not paid reporting time pay or any
21   compensation for having to be at the ready to work a standby shift. Marathon compensated
22   only operators asked to come to work and work the standby shift.
23          52.    As a direct and proximate result of actions as set forth herein, Named Plaintiffs
24   and putative class members have sustained economic damages, including, but not limited
25   to, unpaid wages (reporting time pay) and lost interest, in an amount to be established at
26   trial, and are entitled to recover economic and statutory damages and penalties and other
27   appropriate relief from Defendant’s violations of Wage Order 1-2001.
28          WHEREFORE, Plaintiffs pray for judgment as set forth herein below.

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 1                                   SECOND CAUSE OF ACTION
 2                             FAILURE TO PAY FOR TRAVEL TIME
 3      (Lab. Code §§ 218, 218.5, 1194, and 1199; Wage Order 1-2001; 8 C.C.R. § 11010)
 4        (By Named Plaintiffs and the Putative Travel Time Class Members Against All
 5                                           Defendants)
 6          53.    Named Plaintiffs realleges and incorporates by reference all prior paragraphs
 7   as if fully set forth herein.
 8          54.    Wage Order 1-2001 mandates that employees be paid for all “hours
 9   worked.” Wage Order 1-2001 defines “hours worked” as “the time during which an
10   employee is subject to the control of an employer, and includes all the time the employee
11   is suffered or permitted to work, whether or not required to do so.” 8 C.C.R. § 11010.
12          55.    Marathon requires employees to travel from the employee turnstiles to their
13   units, and wait until five minutes before their shifts begin to clock in, and clock out, at
14   their work units and not at the turnstiles. During this time, employees are subject to
15   discipline for violating Marathon’s work rules, including Marathon’s requirement that
16   employees wear PPE while traveling throughout the Refinery.
17          56.    Marathon has failed to pay Plaintiffs and the Travel Time Class for time spent
18   traveling to and from their work units, compulsory travel time that counts as “hours
19   worked” under Wage Order 1-2001.
20          57.    As a direct and proximate result of Marathon’s actions as set forth herein,
21   Named Plaintiffs and putative class members have sustained economic damages, including,
22   but not limited to, unpaid wages and lost interest, in an amount to be established at trial,
23   and are entitled to recover economic and statutory damages and penalties and other
24   appropriate relief from Defendant’s violations of Wage Order 1-2001. Pursuant to
25   California law, including Labor Code §§ 218, 218.5, 1194 and 1199, Plaintiffs seek unpaid
26   wages from Marathon on behalf of themselves and the Travel Time Class.
27          WHEREFORE, Plaintiffs pray for judgment as set forth herein below.
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             SECOND AMENDED CLASS ACTION COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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 1                                 THIRD CAUSE OF ACTION
 2               FAILURE TO PAY ALL WAGES EARNED AT TERMINATION
 3                                      (Lab. Code §§ 200-203)
 4   (By Plaintiff Pam Mocherniak and All Putative Class Members Against All Defendants)
 5         58.    Named Plaintiff Mocherniak realleges and incorporates by reference all prior
 6   paragraphs as if fully set forth herein.
 7         59.    Labor Code §§ 201 and 202 require that Marathon pay their employees all
 8   wages due within 24 hours after a discharge or 72 hours after a resignation from
 9   employment, if the employee has given less than 72 hours’ notice. Labor Code section 203
10   provides that if an employer willfully fails to timely pay such wages the employer must, as
11   a penalty, continue to pay the employee’s daily wage until the back wages are paid in full
12   or an action is commenced. The penalty cannot exceed 30 days of wages.
13         60.    Members of the Class who have separated from Marathon’s employment were
14   not paid the required reporting time pay or wages owed for travel time within 24 hours
15   after a discharge, or 72 hours after a resignation, as applicable.
16         61.    Marathon’s failure to pay required reporting time pay and travel time pay upon
17   termination was willful.
18         62.    As a direct and proximate result of Marathon’s willful conduct in not paying
19   members of the Class all earned wages at the time their employment with Marathon ended,
20   each member of the Class whose employment with Marathon ended is entitled to 30 days’
21   wages as a penalty under Labor Code § 203.
22         WHEREFORE, Plaintiffs pray for judgment as set forth herein below.
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 1                                   FOURTH CAUSE OF ACTION
 2             FAILURE TO FURNISH ACCURATE ITEMIZED WAGE STATEMENTS
 3                                (Lab. Code § 226; Wage Order 1-2001)
 4            (By Named Plaintiffs and All Putative Class Members Against All Defendants)
 5          63.    Named Plaintiffs reallege and incorporate by reference all prior paragraphs as
 6   if fully set forth herein.
 7          64.    Defendants failed to furnish Named Plaintiffs and the putative class members
 8   with complete and accurate itemized statements, as required by California Labor Code §
 9   226(a). The wage statements, among other things, failed to accurately provide the gross or
10   net wages earned, including travel time and reporting time pay, as required by California
11   Labor Code sections 226(a)(1) and (2). Named Plaintiffs are informed and believe that, at
12   all relevant times, Defendants’ failure was knowing and intentional.
13          65.    Named Plaintiffs and the putative class members could not easily and
14   promptly determine from their wage statements that they had been properly paid. Wages
15   for travel time and reporting time pay was not accurately reported or calculated, such that
16   no calculations could be performed to derive the accurate times, rates, and pay that should
17   have been part of their compensation. The information to make such determinations could
18   not be readily ascertained by the wage statement, standing alone, or without reference to
19   other documents or information.
20          66.    As a result of the Defendant’s conduct as alleged above, Named Plaintiffs and
21   the putative class members are each entitled under California Labor Code § 226(e) to
22   recover the greater of actual damages or $50 for the initial pay period in which a violation
23   occurred and $100 for each subsequent pay period in which Defendants failed to comply
24   with the statute, up to a maximum of $4,000 per employee.
25          WHEREFORE, Plaintiffs pray for judgment as set forth herein below.
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 1                                     FIFTH CAUSE OF ACTION
 2                                PRIVATE ATTORNEYS GENERAL ACT
 3                                       (Lab. Code § 2698 et seq.)
 4             (By Named Plaintiffs and All Aggrieved Employees Against All Defendants)
 5          67.    Named Plaintiffs reallege and incorporate by reference all prior paragraphs as
 6   if fully set forth herein.
 7          68.    Named Plaintiffs is an “aggrieved employee” within the meaning of
 8   California Labor Code § 2699(c), and a proper representative to bring a civil action on
 9   behalf of himself and other current and former employees of Defendants pursuant to the
10   procedures specified in California Labor Code § 2699.3, because Plaintiffs were employed
11   by Defendants and the alleged violations of the California Labor Code were committed
12   against Plaintiff.

13          69.    The California Private Attorneys General Act of 2004, Labor Code § 2698 et

14   seq. (“PAGA”), provides that “[n]otwithstanding any other provision of law, any provision

15   of this code that provides for a civil penalty to be assessed and collected by the Labor and

16   Workforce Development Agency for a violation of this code, may, as an alternative, be

17   recovered through a civil action brought by an aggrieved employee on behalf of himself or

18   herself and other current or former employees ….” Lab. Code § 2699(a).

19          70.    Named Plaintiffs allege, on behalf of themselves and other current and former

20   employees of Defendants, that Defendants have violated, among other statutes and

21   regulations, California Labor Code §§ 200-203, 226 and 226.3.

22          71.    Pursuant to Labor Code § 2699(a) Plaintiffs seek to recover civil penalties, as

23   otherwise provided by statute, for which Defendants are liable as a result of the foregoing

24   violations of the Labor Code sections in an amount to be proven at trial, including, but not

25   limited to, penalties under Labor Code sections 226.3, 558, and 2699(f). Plaintiffs are also

26   entitled to an award of reasonable attorneys’ fees and costs pursuant to Labor Code §

27   2699(g)(1).

28          72.    Named Plaintiffs have exhausted their administrative remedies as required by
     Labor Code section 2699.3(a). On May 4, 2023, Named Plaintiffs provided written notice,
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 1   via online filing, to the Labor and Workforce Development Agency (“LWDA”) and
 2   Defendants as to the claims alleged herein, namely, the specific provisions of the California
 3   Labor Code, among other state statutes and regulations, that Defendants are alleged to have
 4   violated, as well as the facts and theories supporting those violations. Plaintiffs paid the fee
 5   required by Labor Code section 2699.3(a)(1)(B). The LWDA did not notify Plaintiffs and
 6   the employer that it intends to investigate the alleged violation within the time periods
 7   specified in Labor Code 2699.3(a).
 8         WHEREFORE, Plaintiffs pray for judgment as set forth herein below.
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11                                         PRAYER FOR RELIEF
12         Plaintiffs pray for relief as follows:
13         1.    For an order certifying the proposed classes;
14         2.    For an order designating Named Plaintiffs as class representative;
15         3.    For an order designating Named Plaintiffs’ counsel of record as class counsel;
16         4.    For an award of all unpaid wages due to Named Plaintiffs and putative class
17   members during the statutory period as defined by the Court at the time of certification;
18         5.    For an award of damages pursuant to California Labor Code § 226(e);
19         6.    For an award of statutory and civil penalties pursuant to California Labor Code
20   § 2699 equal to the penalties provided in Labor Code §§ 226.3, 558, and 2699(f) and Wage
21   Order 1-2001;
22         7.    For preliminary and permanent injunctive relief enjoining Defendants from
23 violating the relevant provisions of the California Labor Code;
24         8.    For declaratory relief;
25         9.    For prejudgment and postjudgment interest on all sums awarded;
26         10.   For an award of attorneys’ fees and costs incurred in the filing and prosecution
27   of this action, as provided by Labor Code §§ 218.5, 226(e), 226(h) and 2699, California
28   Code of Civil Procedure § 1021.5 and any other appropriate statutes;

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 1        11.   For costs of suit; and
 2        12.   For such other and further relief as the Court may deem proper and just.
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     Dated: September 29, 2023                  GILBERT & SACKMAN
 5                                              A Law Corporation

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 7                                              By: _____________________________
                                                Joshua F. Young
 8                                              Attorneys for Plaintiffs

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 1                                     DEMAND FOR JURY TRIAL
 2          Named Plaintiffs Louis Butel and Pam Mocherniak, individually and on behalf of
 3   all similarly situated current and former employees of Defendants, hereby request a jury
 4   trial on all claims so triable.
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     Dated: September 29, 2023                   Respectfully submitted,
 7
                                                 GILBERT & SACKMAN
 8                                               A Law Corporation

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10                                               By: _____________________________
                                                 Joshua F. Young
11                                               Attorneys for Plaintiffs

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